Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 1 of 20 PageID: 624



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


MICHELE MOODY,                             :     Hon. Joseph H. Rodriguez:

            Plaintiff,                     :     Civil Action No. 14-4912

      v.                                   :           OPINION

ATLANTIC CITY BOARD OF EDUC.,              :

            Defendant.                     :


      This matter is before the Court on Defendant’s motion for summary

judgment pursuant to Federal Rule of Civil Procedure 56. [Doc. 22.] The

Court has reviewed the submissions and decides the matter based on the

briefs pursuant to Fed. R. Civ. P. 78(b). For the reasons stated here, the

motion will be granted.

                                Jurisdiction

      This case is a civil action over which the district court has original

jurisdiction based on a question “arising under the Constitution, laws, or

treaties of the United States.” See 28 U.S.C. § 1331. Plaintiff asserts that

she was sexually harassed and retaliated against in violation of Title VII, 42

U.S.C. § 200o(e) of the Civil Rights Act of 1964 as amended. With respect

to Plaintiff’s state law claims, this Court has supplemental jurisdiction

pursuant to 28 U.S.C. § 1367(a).

                                       1
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 2 of 20 PageID: 625



                                Background

      Plaintiff Michele Moody claims that she was sexually harassed while

employed as a Substitute Custodian for Defendant Atlantic City Board of

Education. Atlantic City School District is comprised of eleven schools. As a

Substitute Custodian, Plaintiff was part of a pool of employees that

potentially could be called to work in any one of the schools should the

need arise. She was paid on a per diem basis and was not guaranteed work.

(Moody Dep. p. 24-25.)

      Plaintiff’s alleged harasser, Maurice Marshall, is a full-time Custodial

Foreman at the New York Avenue School, one of the schools in the District.

He has no authority to hire staff or award contracts on behalf of the

District; he has no involvement as to the hiring of full-time custodians.

(Marshall Dep. p. 24-25.) However, it appears that he was responsible for

scheduling substitute custodians to work at the New York Avenue School.

(Moody Dep. p. 40, 130.)

      Beginning on October 26, 2012, Plaintiff received calls to work at the

New York Avenue School, and did work there. At that time, Plaintiff alleges

that Marshall informed her that she would receive more hours at his school

in exchange for sexual favors. (Moody Dep. p. 44-45.) Shortly after October

26, 2012, Marshall allegedly grabbed Plaintiff by the arm in the stairwell


                                      2
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 3 of 20 PageID: 626



and tried to pull her close to him to kiss him, but Plaintiff pulled away.

(Moody Dep. p. 47.) In early to mid-November 2012, Plaintiff was called

over the radio to come to Marshall’s office, and when she opened the door,

Marshall allegedly was sitting unclothed in his office chair. (Moody Dep. p.

52.) Plaintiff walked out, (id.), causing Marshall to ask Plaintiff: “Where

are you going?” (Moody Dep. p. 53.) Plaintiff kept walking. (Id.)

Nonetheless, she continued to get the same level of custodian work –

allegedly 4 to 5 days per week. (Moody Dep. p. 55.) Plaintiff also alleges

near daily sexual advances and/or text messages from Marshall, which she

was uncomfortable with and rejected. 1 This conduct allegedly culminated in

a December 2012 encounter between the two at Plaintiff’s home during

which Marshall informed Plaintiff that the only way she would get a




1
 For example, Marshall would comment on how tight Plaintiff’s jeans were
and that girls from Plaintiff’s section of town are “dirty girls.” (Moody Dep.
p. 125.) Also among the daily comments that Marshall made to Plaintiff
included: “If your dad knew you were dressed like that he would be shakin’
his head” and “Why does your butt shake like that?” and he would tell other
female employees: “Don’t you wish your but was big that that.” (Moody
Decl. ¶ 46.) Also, on a weekly basis, Marshall would often grab Plaintiff’s
breasts or buttocks at the work place. (Moody Decl. ¶ 47.) On about
November 5, 2012, Marshall called Plaintiff into his office and tried to take
her shirt off. (Moody Decl. ¶ 45.) Just before Christmas break in late
December 2012, Marshall again physically grabbed Plaintiff in the office
from behind and pulled here backwards towards himself. (Moody Dep. p.
60.) Plaintiff pulled away and asked why he was doing this. Marshall
responded: “You want more hours?” (Moody Dep. p. 61.)
                                       3
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 4 of 20 PageID: 627



contract with Defendant would be to engage in sexual activity with him. 2

(Moody Dep. p. 64.) The two allegedly engaged in sexual relations in

Plaintiff’s house. (Moody Dep. p. 66.) Marshall denies having made sexual

comments or advances, as well as having entered Plaintiff’s house and

sexual relations. (Marshall Dep. p. 33-35, 42, 51-52.)

      Plaintiff asserts that she informed Marshall shortly afterward that

what they had done would never happen again, (Moody Dep. p. 126); she

states that her work hours were then substantially reduced. (Moody Decl. ¶

18-19.)3 On January 23, 2013, when Plaintiff attempted to pick up her

paycheck at the New York Avenue School, Marshall was playing ping pong

and made Plaintiff wait for her check. (Moody Decl. ¶ 20.) At that time,

Plaintiff noticed that a new substitute custodian, Michelle McArthur, was


2
  On December 27, 2012, Marshall started texting Plaintiff at 6:05 p.m.:
      Marshall: “U playing . . . Well . . . Ok ill hit u when U go to work.”
      Plaintiff: “In the am?”
      Marshall: “No tonight my other job I am getting all three holes.”
      Plaintiff: “No the hell u not.”
      Marshall: “How’s penn [another school] treating u . . . U got steady
      work and that’s where the contracts going to b at . . . I got u”
(Moody Decl. Ex. 1.)
Later that evening, Marshall allegedly went to Plaintiff’s house uninvited,
and told her “This is the only way you are going to get a contract.” (Moody
Decl. ¶ 16.)
3
  During her deposition, Plaintiff theorized that her hours had been reduced
because her coworkers had inquired about whether there was an
inappropriate relationship between her and Marshall that caused her to
receive special treatment. (Moody Dep. p. 68-69.)
                                      4
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 5 of 20 PageID: 628



working at the New York Avenue School. (Moody Decl. ¶ 21.) Plaintiff

alleges that she was informed by another custodian at the school, Eloise

Spellman, that Plaintiff was on Marshall’s “shit list.” (Moody Decl. ¶ 22;

Moody Dep. p. 72.)4

      After Plaintiff left the New York Avenue School that morning, she

initiated a text exchange with Marshall.

      Plaintiff: “U don’t gotta act like that towards me, I understand your
      [sic] upset at me but, outside of that Im a good worker but, Its cool.”
      Marshall: “Wt are u talking about, I’m not into the drama.”
      Plaintiff: “Just making sure Im not on ya so call “shit list”.”
      Marshall: “U are but not like that I won’t stop u from getting I don’t
      play games like that.”

(Moody Decl. ¶ 23-27; Ex. 1.) The remainder of that week, Plaintiff was not

assigned any work by Marshall but the new substitute custodian, McArthur,

was assigned three days that week. (Moody Decl. ¶ 29.) On January 29,

2013, Plaintiff again initiated a text exchange with Marshall.

      Plaintiff: “Guess it is messing with my hours, Its cool though.”


4
 In her deposition, Spellman testified that she never saw Marshall be
disrespectful to any employees. (Spellman Dep. p. 7-8.) She testified that
she never texted or told anyone that Plaintiff was on Marshall’s “shit list,”
and she did not have any conversations with Plaintiff about Marshall or
with Marshall about Plaintiff. (Spellman Dep. p. 8.) Spellman further
testified that there was one instance she remembered when Plaintiff was
not working on a particular day and Plaintiff said “He’s [meaning Marshall]
not letting me work today, he’s letting Michelle [McArthur] work. He said
he’s letting Michelle work. Oh, I got something for that ass.” (Spellman
Dep. p. 10-11.)
                                      5
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 6 of 20 PageID: 629



     Marshall: “Wt are you talking about please stop . . . I see your a
     trouble starter don’t know wts your problem but I got rid of all my
     trouble at this school if you have a problem with me my door is
     always open.”
     Plaintiff: “Im not a trouble starter or a problem U said that I was on
     your “shit list” to Ms. Weezy but I knew what u were referring to
     because it got out that we were messing around, I knew I should have
     never engaged into that with u but, It is what it is that should have
     never interfered with me lossing hours cause Im a good worker but,
     Its cool if only I knew what I know now but, everybody tried to warn
     me.”
     Marshall: “One when the fuck we mess around two u get mad cause I
     wouldn’t stop playing my game and go get your check like who are u I
     said give me a min, so I didn’t do anything to u u did it to your self,
     and the ppl telling u to watch me lol all the subs work for me are cool
     and come back, take a look at your self before u blame anyone we was
     cool till u started bugging . . . Like I said I don’t argue with subs to
     many ppl want jobs and on the list.”
     Plaintiff: “Yo I have all the text messages and my parents saw u when
     u came to my house.”
     Marshal: “Lol moody something really wrong with u than u say y we
     got beef it’s not me who has the beef it’s u on that note.”
     Plaintiff: “I don’t have beef Im just seeing now what everybody was
     talking about . . . How u really are.”
     Marshall: “How am I u was coming in u was being called u was
     getting hours wt are I talking about how did I disrespect U but you
     did me telling ppl we had sex cause I didn’t get your ck fast enough,
     like I said u have beef come talk to me that’s wt woman do this some
     teen shit.”
     Plaintiff: “Monk whatever . . . Look I never disrespected u any type of
     way my thing is as long as we were messing around and nobody knew
     I got hours then when word got out u stopped calling me in for work
     its cool though but, I work to feed and cloth my children and with that
     being said I have to do whats best for me . . .”
     Marshall: “Look I haven’t called u in one week that’s it shell came in
     for wizzy while she was there mark took off that’s why she got them
     days u are bugging for real not even that serious. Are u going through
     something personal cause this is crazy.”

(Moody Decl. ¶ 30-41; Ex. 1.)

                                      6
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 7 of 20 PageID: 630



      On February 4, 2013, Plaintiff made a complaint against Marshall to

Assistant Superintendent Sherry Yahn, who immediately took Plaintiff to

Human Resources to lodge a written complaint. (Moody Decl. ¶ 43; Moody

Dep. p. 76-77; Yahn Dep. p. 9-11.) That day, Diane Saunders, Supervisor of

Human Resources had a telephone conversation with Plaintiff concerning

her complaint and setting up an in-person meeting with the New York

Avenue School Principal, James Knox. (Moody Dep. p. 77-78.) On February

12, 2013, Plaintiff was sent correspondence confirming the meeting.

(Moody Dep. p. 78.)

      On February 12, 2013, Diane Saunders held a meeting with Maurice

Marshall, James Knox, Principal of the New York Avenue School, Kurt

Austin, District Facilities Manager, Edzii Ebenezer, President of the Head

Custodian Association, and Brian Currie, NJEA Representative. (Riley

Cert., Ex. I.) Marshall adamantly denied all of Plaintiff’s allegations. (Id.)

He stated that Plaintiff began to make allegations against him when he

began to call another substitute custodian in for work. Marshall further

provided that he did stop calling Plaintiff into work because of the

accusations she was making about him. (Id.)

      On February 13, 2013, eight custodians from the New York Avenue

School were individually interviewed with regard to Plaintiff’s allegations.


                                        7
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 8 of 20 PageID: 631



(Riley Cert., Ex. I.) The eight custodians were Mark Crumble, Hattie

Martin, Eloise Spellman, Harold Barnes (substitute), Granville Haywood,

Daniel Smith, Michael Downing, and Joseph Beaman III. (Id.) All of the

custodians were asked if they witnessed any inappropriate behavior by

Marshall towards Plaintiff. All of the custodians answered in the negative.

(Id.)

        During a February 14, 2013 meeting, Saunders and Knox questioned

Plaintiff about the circumstances that lead to her complaint. (Moody Dep.

p. 78.) While the investigation into Plaintiff’s allegations was pending, she

was informed that she would be separated from Marshall. (Moody Dep. p.

81.) Thereafter, she did not receive any assignments at the New York

Avenue School. (Moody Dep p. 82; Marshall Dep. p. 53.)

        Defendant Atlantic City Board of Education retained an outside law

firm to investigate the claim of harassment made by Plaintiff. (Riley Cert.,

Ex. M.) The law firm of DeCotiis, Fitzpatrick & Cole, LLP conducted an

investigation, and rendered a report in this matter. Witnesses were again

interviewed, including Plaintiff. (Riley Cert., Ex. M & N.) The DeCotiis

investigation recommended a finding of no sexual harassment or

discrimination. (Riley Cert., Ex. N.) Human Resources was unable to come

to any finding of sexual or other discrimination in the workplace. (Riley


                                       8
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 9 of 20 PageID: 632



Cert., Ex. O.) Plaintiff was notified of the findings and the reasons for the

findings in correspondence dated July 23, 2013. (Riley Cert., Ex. O.)

      In October of 2013, Plaintiff’s children were transferred from the New

York Avenue School to the Uptown School Complex; Plaintiff views the

transfer as retaliation for complaining about Marshall. (Moody Dep. p. 92.)

Plaintiff’s children previously attended the Martin Luther King Complex

due to ongoing custody issues, but Plaintiff became angry with the school’s

principal, and requested that her children be able to attend the New York

Avenue School because that school was closer to where her parents lived.

(Yahn Dep. p. 17-19.) Yahn granted the request and Plaintiff’s children were

enrolled at New York Avenue. (Yahn Dep. p. 19; Yahn Cert.¶ 3-6.) Plaintiff’s

son was placed in a program outside the district for behavioral issues, and

when he was to re-enroll through the district’s central registration, it was

determined that his neighborhood school was at Uptown Complex, so that

is where he was placed. (Yahn Dep. p. 21-22 Yahn Cert.¶ 7.) Further, Yahn

explained to Plaintiff that having her three children in the same

neighborhood school would help with the truancy issues she had. (Yahn

Dep. p. 31 Yahn Cert.¶ 9-10.)




                                       9
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 10 of 20 PageID: 633



                     Summary Judgment Standard

      “Summary judgment is proper if there is no genuine issue of material

fact and if, viewing the facts in the light most favorable to the non-moving

party, the moving party is entitled to judgment as a matter of law.” Pearson

v. Component Tech. Corp., 247 F.3d 471, 482 n.1 (3d Cir. 2001) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)); accord Fed. R. Civ. P. 56

(a). Thus, the Court will enter summary judgment in favor of a movant who

shows that it is entitled to judgment as a matter of law, and supports the

showing that there is no genuine dispute as to any material fact by “citing to

particular parts of materials in the record, including depositions,

documents, electronically stored information, affidavits or declarations,

stipulations . . . admissions, interrogatory answers, or other materials.”

Fed. R. Civ. P. 56 (c)(1)(A).

      An issue is “genuine” if supported by evidence such that a reasonable

jury could return a verdict in the nonmoving party’s favor. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material” if, under

the governing substantive law, a dispute about the fact might affect the

outcome of the suit. Id. In determining whether a genuine issue of

material fact exists, the court must view the facts and all reasonable

inferences drawn from those facts in the light most favorable to the


                                      10
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 11 of 20 PageID: 634



nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 587 (1986).

      Initially, the moving party has the burden of demonstrating the

absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477

U.S. 317, 323 (1986). Once the moving party has met this burden, the

nonmoving party must identify, by affidavits or otherwise, specific facts

showing that there is a genuine issue for trial. Id.; Maidenbaum v. Bally’s

Park Place, Inc., 870 F. Supp. 1254, 1258 (D.N.J. 1994). Thus, to withstand

a properly supported motion for summary judgment, the nonmoving party

must identify specific facts and affirmative evidence that contradict those

offered by the moving party. Andersen, 477 U.S. at 256-57. “A nonmoving

party may not ‘rest upon mere allegations, general denials or . . . vague

statements . . . .’” Trap Rock Indus., Inc. v. Local 825, Int’l Union of

Operating Eng’rs, 982 F.2d 884, 890 (3d Cir. 1992) (quoting Quiroga v.

Hasbro, Inc., 934 F.2d 497, 500 (3d Cir. 1991)). Indeed,

      the plain language of Rule 56(c) mandates the entry of
      summary judgment, after adequate time for discovery and
      upon motion, against a party who fails to make a showing
      sufficient to establish the existence of an element essential
      to that party’s case, and on which that party will bear the
      burden of proof at trial.

Celotex, 477 U.S. at 322. That is, the movant can support the assertion that

a fact cannot be genuinely disputed by showing that “an adverse party
                                       11
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 12 of 20 PageID: 635



cannot produce admissible evidence to support the [alleged dispute of]

fact.” Fed. R. Civ. P. 56(c)(1)(B); accord Fed. R. Civ. P. 56(c)(2).

      In deciding the merits of a party’s motion for summary judgment, the

court’s role is not to evaluate the evidence and decide the truth of the

matter, but to determine whether there is a genuine issue for trial.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Credibility

determinations are the province of the factfinder. Big Apple BMW, Inc. v.

BMW of N. Am., Inc., 974 F.2d 1358, 1363 (3d Cir. 1992).

                                 Discussion

      Title VII of the Civil Rights Act of 1964 makes it unlawful for

employers to “discriminate against any individual with respect to

compensation, terms, conditions or privileges of employment, because of

such individual’s . . . sex.” 42 U.S.C § 2000e–2(a)(1). Because New Jersey

courts “have frequently looked to case law under Title VII . . . for guidance

in developing standards to govern the resolution of LAD claims,” the Court

will analyze the NJLAD claims together with the Title VII claims. Carmona

v. Resorts Int’l Hotel, Inc., 915 A.2d 518 (N.J. 2007).

      Sexual harassment that is actionable under Title VII can take two

forms—quid pro quo or a hostile work environment. “Quid pro quo”

harassment involves express or implied demands for sexual favors by a


                                       12
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 13 of 20 PageID: 636



superior directed at a subordinate in exchange for a benefit or the

avoidance of a negative consequence. Meritor Sav. Bank v. Vinson, 477 U.S.

57, 66 (1986). This type of harassment consists of “[u]nwelcome sexual

advances, requests for sexual favors, and other verbal or physical conduct

of a sexual nature constitute sexual harassment when (1) submission to

such conduct is made either explicitly or implicitly a term or condition of an

individual’s employment [or] (2) submission to or rejection of such conduct

by an individual is used as the basis for employment decisions affecting

such individual.” Robinson v. City of Pittsburgh, 120 F.3d 1286, 1296 (3d

Cir. 1997) (abrogated on other grounds by Burlington N. & Santa Fe Ry. Co.

v. White, 548 U.S. 53 (2006)). “[A] plaintiff may prove a claim of quid pro

quo sexual harassment by showing that ‘his or her response to unwelcome

advances was subsequently used as a basis for a decision about

compensation, [terms, conditions, or privileges of employment].’” Farrell v.

Planters Lifesavers Co., 206 F.3d 271, 281-82 (3d Cir. 2000) (quoting

Robinson, 120 F.3d at 1297).

      To establish a prima facie case of hostile work environment, a

plaintiff must show that “(1) the employee suffered intentional

discrimination because of their sex; (2) the discrimination was [severe or

pervasive]; (3) the discrimination detrimentally affected the plaintiff; (4)


                                      13
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 14 of 20 PageID: 637



the discrimination would detrimentally affect a reasonable person of the

same sex in that position; and (5) the existence of respondeat superior

liability.” Huston v. Procter & Gamble Paper Prods. Corp., 568 F.3d 100,

104 (3d Cir. 2009) (internal citations and quotation marks omitted). 5

Accord Jensen v. Potter, 435 F.3d 444, 449 n.3 (3d Cir. 2006).

      In analyzing a hostile work environment case, the courts must

“determine whether an environment is sufficiently hostile or abusive by

looking at all the circumstances, including the frequency of the

discriminatory conduct; its severity; whether it is physically threatening or

humiliating, or a mere offensive utterance; and whether it unreasonably

interferes with an employee’s work performance.” Faragher v. City of Boca

Raton, 524 U.S. 775, 787-88 (1998) (internal citations and quotation marks

omitted). See also Burlington Indus. v. Ellerth, 524 U.S. 742, 752 (1998) (A

plaintiff bringing a hostile work environment claim under Title VII must

allege harassment that is severe or pervasive.). That is, Title VII is violated

only “[w]hen the workplace is permeated with discriminatory intimidation,




5
 In applying the NJLAD, the New Jersey Supreme Court uses a similar test,
requiring that “the complained-of conduct (1) would not have occurred but
for the employee’s gender; and it was (2) severe or pervasive enough to
make a (3) reasonable [person of that gender] believe that (4) the
conditions of employment are altered and the working environment is
hostile or abusive.” Lehmann v. Toys ‘R’ Us, 626 A.2d 445, 453 (N.J. 1993).
                                       14
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 15 of 20 PageID: 638



ridicule, and insult . . . that is sufficiently severe or pervasive to alter the

conditions of the victim’s employment and create an abusive working

environment.” Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (quoting

Meritor, 477 U.S. at 65, 67). “Title VII is not intended as a ‘general civility

code.’” Burgess v. Dollar Tree Stores, Inc., 642 F. App’x 152, 154–55 (3d Cir.

2016) (quoting Faragher, 524 U.S. at 788).

      When a co-worker harasses a plaintiff, an employer is liable for its

employee’s unlawful harassment if the employer was negligent with respect

to the offensive behavior. Vance v. Ball State Univ., --- U.S. ---, 133 S. Ct.

2434, 2441 (2013). Under the Ellerth/Faragher analysis, the employer in a

hostile work environment sexual harassment case may assert as an

affirmative defense to vicarious liability that it ‘exercised reasonable care to

prevent and correct promptly any sexually harassing behavior,’ and ‘the

plaintiff employee unreasonably failed to take advantage of any preventive

or corrective opportunities provided by the employer or to avoid harm

otherwise,’ provided that the employer has not taken an adverse tangible

employment action against the plaintiff employee.” Aguas v. State, 107 A.3d

1250, 1253 (N.J. 2015) (quoting Ellerth, 524 U.S. at 765; Faragher, 524 U.S.

at 807-08).




                                         15
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 16 of 20 PageID: 639



      The New Jersey Supreme Court has held that “an allegedly harassing

employee is the complainant’s supervisor if that employee had the authority

to take or recommend tangible employment actions affecting the

complaining employee, or to direct the complainant's day-to-day activities

in the workplace. Id. Similarly, the United States Supreme Court has held

that “an employer may be vicariously liable for an employee’s unlawful

harassment only when the employer has empowered that employee to take

tangible employment actions against the victim, i.e., to effect a ‘significant

change in employment status, such as hiring, firing, failing to promote,

reassignment with significantly different responsibilities, or a decision

causing a significant change in benefits.’” Vance, 133 S. Ct. at 2443 (quoting

Ellerth, 524 U.S. at 761). “The ability to direct another employee’s tasks is

simply not sufficient.” Vance, 133 S. Ct. at 2448.

      In order to make out a prima facie case of retaliation, the plaintiff

must show: (1) that she engaged in a protected activity, which can include

informal protests of discriminatory employment practices such as making

complaints to management; (2) adverse action taken by the employer either

after or contemporaneous with the employee’s protected activity; and (3) a

causal connection between the protected activity and the adverse action.

Daniels v. Sch. Dist. of Phila., 776 F.3d 181, 193 (3d Cir. 2015). Again,


                                       16
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 17 of 20 PageID: 640



[w]hile this discussion focuses on Title VII, the same analysis applies to

[Plaintiff’s] NJLAD claim. . . . To establish a prima facie case of retaliation

under the NJLAD, [a Plaintiff] must [show] both that she opposed ‘a

practice rendered unlawful’ by the statute and that the employer knew

about that opposition.” Davis v. City of Newark, 417 F. App’x 201, 203 (3d

Cir. 2011) (quoting Young v. Hobart W. Group, 897 A.2d 1063, 1073 (N. J.

Super Ct. App. Div. 2005)).

      In this case, Plaintiff has not established that Marshall was her

supervisor. Although Marshall was able to call Plaintiff into work at the

New York Avenue School when needed, so were ten other maintenance

forepersons, as well as the Board office. Marshall did not have authority to

terminate Plaintiff or make any other personnel decisions.

      Assuming arguendo that Marshall was Plaintiff’s supervisor, the

record does not support a finding that Plaintiff’s response to Marshall’s

alleged unwelcome advances was subsequently used as a basis for a tangible

employment action, that is “a significant change in employment status,

such as hiring, firing, failing to promote, reassignment with significantly

different responsibilities, or a decision causing a significant change in

benefits.” Vance, 133 S. Ct. at 2442 (quoting Ellerth, 524 U.S. at 761).




                                       17
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 18 of 20 PageID: 641



      During each of the two pay periods ending October 26, 2012, Plaintiff

worked and was compensated for 24 and 40 hours. (Riley Cert. Ex. L.) She

then began to receive calls from Marshall to work at the New York Avenue

School. Plaintiff worked 19.5, 64, 46, and 48 hours per pay period during

which time she alleges that she consistently rejected Marshall's advances.

During the week of and the week after their alleged sexual encounter,

December 23, 2012 through January 4, 2014, Plaintiff worked exclusively at

the Pennsylvania Avenue School and logged 72 hours. Plaintiff asserts that

shortly thereafter, she informed Marshall that they would not have further

sexual relations, yet she was scheduled for 38.5 and 24 hours at the New

York Avenue School during the subsequent two pay periods. Plaintiff filed

her complaint with Human Relations on February 4, 2013 but, during that

week and the next, she worked 36 hours at Pennsylvania Avenue.

      Upon initiating an investigation into Plaintiff’s accusations against

Marshall, Defendant instructed the two to have no contact with each other.

As such, one would not expect Marshall to call Plaintiff in to substitute at

New York Avenue. Plaintiff continued to be called to work at other schools




                                      18
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 19 of 20 PageID: 642



in the District sporadically until May of 2014, during which she worked 48

hours in one pay period. (Id.)6

      As Plaintiff has failed to establish a tangible employment action taken

against her by Defendant, Defendant is able to avoid liability if it can

establish an affirmative defense by showing that it exercised reasonable

care to prevent and correct promptly any sexually harassing behavior and

the plaintiff employee unreasonably failed to take advantage of any

preventive or corrective opportunities provided by the employer or to avoid

harm otherwise. See Ellerth, 542 U.S. at 765; Faragher, 524 U.S. at 807.

There is nothing in the record to support a finding the Defendant knew or

should have known of the alleged harassment and failed to take prompt

remedial action. Indeed, the opposite has been shown through record

evidence, as outlined above. Upon being notified of Plaintiff’s allegations,

Defendant conducted a thorough investigation. Plaintiff and Marshall were




6
 During the pay period ending April 12, 2013, Plaintiff worked and was
compensated for 23 hours. During the pay period ending April 26, 2013,
Plaintiff worked and was compensated for 8.5 hours. During the pay period
ending May 10, 2013, Plaintiff worked and was compensated for 40 hours.
During the pay period ending May 24, 20913, Plaintiff worked and was
compensated for 8 hours. Plaintiff was not called in for hours during the
months of June, July, August, or September 2013. Plaintiff was also not
called into work during the summer months of June, July, August, or
September of 2012.
                                      19
Case 1:14-cv-04912-JHR-JS Document 31 Filed 12/13/16 Page 20 of 20 PageID: 643



directed to have no contact with each other, and that directive was

confirmed in writing by certified mail.

      Regarding Plaintiff’s claim of retaliation, the Court finds no causal

connection between Plaintiff complaining about Marshall and the

assignment of her children to their neighborhood school. Additionally, as

stated, Plaintiff continued to be called into work on a substitute basis after

lodging her complaint.

                                Conclusion

      For the reasons stated above, Defendant’s motion for summary

judgment will be granted. An Order will accompany this Opinion.



Dated: December 13, 2016                   /s/ Joseph H. Rodriguez
                                           Joseph H. Rodriguez, USDJ




                                      20
